United States District Court
Southern District of Texas
FILED

UNITED STATES DISTRICT COURT JUN 13 2021

SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

UNITED STATES OF AMERICA
v.

RAUL ARNOLDO GARZA-SAAVEDRA
JULIO CESAR DOMINGUEZ
JONHATAN ALVARADO-ARREAZOLA

INDICTMENT

THE GRAND JURY CHARGES:
Count One
On or about April 21, 2021, in the Southern District of Texas and within the jurisdiction of
the Court, defendant,
RAUL ARNOLDO GARZA-SAAVEDRA
did knowingly and intentionally conspire and agree with other persons known and unknown to the
Grand Jurors, to possess with intent to distribute a controlled substance. The controlled substance
involved was 500 grams or more of a mixture or substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance.
In violation of Title 21, United States Code, Sections 846, 841(a)(1), and 841(b)(1)(A).
Count Two
On or about May 17, 2021, in the Southern District of Texas and within the jurisdiction of
the Court, defendants,
RAUL ARNOLDO GARZA-SAAVEDRA
JULIO CESAR DOMINGUEZ
and

JONHATAN ALVARADO-ARREAZOLA

did knowingly and intentionally conspire and agree together and with other persons known and

Nathan Ochsner, Clerk

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unknown to the Grand Jurors, to possess with intent to distribute a controlled substance. The
controlled substance involved was 500 grams or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 846, 841(a)(1), and 841(b)(1)(B).

Count Three

On or about May 17, 2021, in the Southern District of Texas and within the jurisdiction of

the Court, defendant,
RAUL ARNOLDO GARZA-SAAVEDRA

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 500 grams or more, that is, approximately 2 kilograms of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title
18, United States Code, Section 2.

Count Four

On or about May 17, 2021, in the Southern District of Texas and within the jurisdiction of

the Court, defendants,
JULIO CESAR DOMINGUEZ
JONHATAN ALVARADO-ARREAZOLA

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 5 kilograms or more, that is, approximately 13 kilograms of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.
In violation of Title 21, United States Code, Sections 841 (a)(1) and 841(b)(1)(A) and Title

18, United States Code, Section 2.

JENNIFER B. LOWERY
ACTING UNITED STATES ATTORNEY

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ASSISTANT UNITED STATES ATTORNEY

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